                                      United States Bankruptcy Court
                                                                         FOR THE
                                                                  Northern District of Ohio

IN RE:      Derill C. & Linda K. Ferguson                                                                   CASE No. 23-60077



Derill C. & Linda K. Ferguson
6750 Pontius Street NE
Hartville, OH 44632




                                                       NOTICE OF INTENT TO PAY CLAIMS

  CLAIM #          CLASS          NAME AND ADDRESS OF THE CLAIMANTS                            DATE FILED      SCHEDULED      ALLOWED        PAY %

               Unsecured           Aultman Hospital                                           Not Filed      None          None              0.0000
                                   2600 6th St., SW
                                   Canton, OH 44710



               Unsecured           Quest Diagnostics                                          Not Filed      None          None              0.0000

                                   Cincinnati, OH



               Unsecured           Cigna                                                      Not Filed      None          None              0.0000

                                   Phoenix, AZ



               Unsecured           Canton Aultman ER Physicians                               Not Filed      None          None              0.0000
                                   PO Box 76659
                                   Cleveland, OH 44101



               Unsecured           TRI COUNTY HEMATOLOGY/ONCOLOGY                             Not Filed      None          None              0.0000
                                   7337 CARITAS CIRCLE NW #150
                                   MASSILLON, OH 44646



               Unsecured           Canton Pathology Associates                                Not Filed      None          None              0.0000
                                   PO Box 80690
                                   Canton, OH 44708



               Unsecured           GASTROENTEROLOGY ASSOCIATES                                Not Filed      None          None              0.0000
                                   4665 BELPAR ST NW
                                   PO BOX 36329
                                   CANTON, OH 44735


               Unsecured           TRACTOR SUPPLY                                             Not Filed      None          None              0.0000
                                   PO BOX 8181
                                   JOHNSON CITY, TN 37615-8181




         Page 1 of 5                                                                                         0503-09-EPIB09-00029649-68398
                23-60077-jpg            Doc 92         FILED 02/06/24            ENTERED 02/06/24 11:01:45                 Page 1 of 6
                                      United States Bankruptcy Court
                                                                         FOR THE
                                                                  Northern District of Ohio

IN RE:      Derill C. & Linda K. Ferguson                                                                   CASE No. 23-60077



Derill C. & Linda K. Ferguson
6750 Pontius Street NE
Hartville, OH 44632




                                                       NOTICE OF INTENT TO PAY CLAIMS

  CLAIM #          CLASS          NAME AND ADDRESS OF THE CLAIMANTS                            DATE FILED      SCHEDULED      ALLOWED        PAY %

               Unsecured           Quest Diagnostics                                          Not Filed      None          None              0.0000

                                   Cincinnati, OH



               Unsecured           FIDELITY NATIONAL COLLECTIONS                              Not Filed      None          None              0.0000
                                   885 SOUTH SAWBURG AVE.
                                   SUITE 103
                                   ALLIANCE, OH 44601


               Unsecured           Bank of America                                            Not Filed      None          None              0.0000

                                   Baltimore, MD



               Unsecured           Radiology Associates of Canton                             Not Filed      None          None              0.0000

                                   Cleveland, OH



               Unsecured           Quest Diagnostics                                          Not Filed      None          None              0.0000

                                   Cincinnati, OH



    001        Unsecured           Credit First, N.A.                                         03/24/2023 3,282.46          1,460.78          44.5027
                                   Po Box 818011
                                   Cleveland, OH 44181



    002        Priority            Ohio Department of Taxation                                03/27/2023 520.10            520.10            100.0000
                                   Bankruptcy Division
                                   PO Box 530
                                   Columbus, OH 43216


    002        Unsecured           Ohio Department of Taxation                                03/27/2023 82.33             36.64             44.5027
                                   Bankruptcy Division
                                   PO Box 530
                                   Columbus, OH 43216




         Page 2 of 5                                                                                         0503-09-EPIB09-00029649-68398
                23-60077-jpg            Doc 92         FILED 02/06/24            ENTERED 02/06/24 11:01:45                 Page 2 of 6
                                      United States Bankruptcy Court
                                                                         FOR THE
                                                                  Northern District of Ohio

IN RE:      Derill C. & Linda K. Ferguson                                                                   CASE No. 23-60077



Derill C. & Linda K. Ferguson
6750 Pontius Street NE
Hartville, OH 44632




                                                       NOTICE OF INTENT TO PAY CLAIMS

  CLAIM #          CLASS          NAME AND ADDRESS OF THE CLAIMANTS                            DATE FILED      SCHEDULED      ALLOWED        PAY %

    003        Unsecured           Discover Bank                                              03/28/2023 19,626.67         8,734.40          44.5027
                                   PO Box 3025
                                   New Albany, OH 43054-3025



    004        Unsecured           Discover Bank                                              03/28/2023 19,841.73         8,830.11          44.5027
                                   PO Box 3025
                                   New Albany, OH 43054-3025



    005        Unsecured           KeyBank, N.A.                                              03/29/2023 5,798.46          2,580.47          44.5027
                                   4910 Tiedeman Road
                                   Brooklyn, OH 44144



   006-2       Priority            Internal Revenue Service                                   03/31/2023 9,065.21          9,065.21          100.0000
                                   PO Box 7346
                                   Philadelphia, PA 19101-7346



   006-2       Unsecured           Internal Revenue Service                                   03/31/2023 321.92            143.26            44.5027
                                   PO Box 7346
                                   Philadelphia, PA 19101-7346



    007        Unsecured           Capital One Bank (USA), N.A.                               04/06/2023 5,768.62          2,567.19          44.5027
                                   by American Infosource as agent
                                   4515 N. Santa Fe Ave.
                                   Oklahoma City, OK 73118


    008        Unsecured           Capital One Bank (USA), N.A.                               04/06/2023 2,782.07          1,238.10          44.5027
                                   by American Infosource as agent
                                   4515 N. Santa Fe Ave.
                                   Oklahoma City, OK 73118


    009        Secured             Americredit Financial Services, Inc                        04/11/2023     None          None              100.0000
                                   dba GM Financial
                                   PO Box 183853
                                   Arlington, TX 76096




         Page 3 of 5                                                                                         0503-09-EPIB09-00029649-68398
                23-60077-jpg            Doc 92        FILED 02/06/24             ENTERED 02/06/24 11:01:45                 Page 3 of 6
                                      United States Bankruptcy Court
                                                                           FOR THE
                                                                    Northern District of Ohio

IN RE:      Derill C. & Linda K. Ferguson                                                                     CASE No. 23-60077



Derill C. & Linda K. Ferguson
6750 Pontius Street NE
Hartville, OH 44632




                                                       NOTICE OF INTENT TO PAY CLAIMS

  CLAIM #          CLASS          NAME AND ADDRESS OF THE CLAIMANTS                              DATE FILED      SCHEDULED      ALLOWED        PAY %

    010        Unsecured           Citibank, N.A.                                               04/11/2023     1,115.57      496.46            44.5027
                                   5800 S. Cooperate Pl.
                                   Sioux Falls, SD 57108-5027



    011        Secured             The Huntington National Bank                                 04/17/2023 None              None              100.0000
                                   P.O. Box 89424
                                   Cleveland, OH 44101



    012        Secured             The Huntington National Bank                                 04/17/2023 None              None              100.0000
                                   PO Box 89424
                                   Cleveland, OH 44101-8539



    013        Unsecured           Wells Fargo Bank, N.A.                                       05/16/2023 1,286.22          572.40            44.5027
                                   PO Box 10438, MAC F8235-02F
                                   Des Moines, IA 50306-0438



    014        Unsecured           Wells Fargo Bank, N.A.                                       05/16/2023 7,303.49          3,250.25          44.5027
                                   PO Box 10438, MAC F8235-02F
                                   Des Moines, IA 50306-0438



    015        Unsecured           Verizon                                                      05/19/2023 1,507.58          670.91            44.5027
                                   by American Infosource as agent
                                   4515 N. Santa Fe Ave.
                                   Oklahoma City, OK 73118


    016        Unsecured           LVNV Funding, LLC                                            06/21/2023 701.94            312.38            44.5027
                                   c/o Resurgent Capital Services
                                   P.O. Box 10587
                                   Greenville, SC 29603-0587


    017        Unsecured           LVNV Funding, LLC                                            06/21/2023 841.27            374.39            44.5027
                                   c/o Resurgent Capital Services
                                   P.O. Box 10587
                                   Greenville, SC 29603-0587




         Page 4 of 5                                                                                           0503-09-EPIB09-00029649-68398
                23-60077-jpg            Doc 92        FILED 02/06/24               ENTERED 02/06/24 11:01:45                 Page 4 of 6
                                          United States Bankruptcy Court
                                                                               FOR THE
                                                                        Northern District of Ohio

    IN RE:      Derill C. & Linda K. Ferguson                                                                             CASE No. 23-60077



    Derill C. & Linda K. Ferguson
    6750 Pontius Street NE
    Hartville, OH 44632




                                                           NOTICE OF INTENT TO PAY CLAIMS

      CLAIM #          CLASS          NAME AND ADDRESS OF THE CLAIMANTS                                      DATE FILED      SCHEDULED      ALLOWED        PAY %

        018        Unsecured           LVNV Funding, LLC                                                    06/21/2023 3,765.29          1,675.66          44.5027
                                       c/o Resurgent Capital Services
                                       P.O. Box 10587
                                       Greenville, SC 29603-0587


        799        Attorney            David A. Mucklow                                                     04/17/2023 3,050.00          3,050.00          100.0000
                                       919 East Turkeyfoot Lake Road, #B
                                       Akron, OH 44312



_________________________________________________________________________________________________________
                           DATED:    02/06/2024                                                     Case Totals           86,660.93          45,578.71

                                                               NOTICE
       The foregoing is a list of the amounts and classifications of claims as filed and to be paid under the plan. Unless an interested
    party files an objection, all claims will be allowed and treated in the manner listed above. Any such objection shall conform to the
    requirements of Rule 3007 and Local Rule 3007.
                                                                             /s/ Dynele L. Schinker-Kuharich
                                                                             Dynele L. Schinker-Kuharich (0069389)
                                                                             Chapter 13 Trustee
                                                                             A. Michelle Jackson Limas (0074750)
                                                                             Staff Counsel to the Chapter 13 Trustee
                                                                             200 Market Avenue North, Ste. 30
                                                                             Canton, OH 44702
                                                                             Telephone: 330.455.2222
                                                                             Facsimile: 330.754.6133
                                                                             Email: DLSK@Chapter13Canton.com




             Page 5 of 5                                                                                                   0503-09-EPIB09-00029649-68398
                    23-60077-jpg            Doc 92        FILED 02/06/24               ENTERED 02/06/24 11:01:45                         Page 5 of 6
23-60077
Derill C. & Linda K. Ferguson




                                                  Certificate of Service

   I certify that on this day, 02/06/2024, the above pleading was electronically transmitted via the Court's CM/ECF system
   to the following who is/are listed on the Court's Electronic Mail Notice List:


   David A. Mucklow


   I further certify that the following parties were sent notice by regular U.S. Mail at the specified addresses on the date set
   forth above.

   Derill C. Linda K. Ferguson
   6750 Pontius Street NE
   Hartville, OH 44632




                                                            /s/ Dynele L. Schinker-Kuharich
                                                            Dynele L. Schinker-Kuharich
                                                            Chapter 13 Trustee




0503-09-EPIB09-00029649-138008
              23-60077-jpg       Doc 92     FILED 02/06/24         ENTERED 02/06/24 11:01:45                Page 6 of 6
